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                         EXHIBIT Q
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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                      )
                                                          )
                                                          )
                   Plaintiff,                             )
                                                          )
 v.                                                       )   Case No. 4:17-cv-00454-GKF-JFJ
                                                          )
 1) CASTLE HILL STUDIOS LLC                               )
    (d/b/a CASTLE HILL GAMING);                           )
 2) CASTLE HILL HOLDING LLC                               )
    (d/b/a CASTLE HILL GAMING); and                       )
 3) IRONWORKS DEVELOPMENT, LLC                            )
    (d/b/a CASTLE HILL GAMING)                            )
                                                          )
                   Defendants.                            )

                            PLAINTIFF’S OBJECTIONS AND RESPONSES TO
                              DEFENDANT CASTLE HILL STUDIO LLC’S
                            FIRST SET OF INTERROGATORIES (NOS. 1-13)

             Pursuant to Federal Rule of Civil Procedure 33, Plaintiff Video Gaming Technologies,

      Inc. (“VGT”) provides these objections and responses to the First Set of Interrogatories of

      Defendant Castle Hill Studio LLC (collectively with the other defendants, “CHG”) (the

      “Interrogatories”).

                                     PRELIMINARY STATEMENT

             In responding to these Interrogatories, VGT does not concede the relevance, materiality,

      or admissibility of any Interrogatory. VGT’s response to each Interrogatory is made subject to

      and without waiver of any objections as to privilege or as to the relevance, materiality, or

      admissibility, for any purpose, of any of the responses given herein.

             VGT’s responses to these Interrogatories are given without prejudice to VGT’s right to

      provide or introduce at trial subsequently discovered evidence. VGT has not completed its fact


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   investigation or discovery, and therefore all responses provided herein are subject to amendment

   and/or supplementation by VGT as investigation and discovery continues.

                                      GENERAL OBJECTIONS

          VGT asserts the following general objections to CHG’s Interrogatories. These general

   objections are incorporated into each of the individual responses below as if fully set forth

   therein. These general objections may be specifically interposed for purposes of clarity or

   emphasis in response to an Interrogatory, but the failure to state a general objection in a response

   shall not be construed as a waiver of the objection.

          1.      VGT objects to each Interrogatory to the extent that it seeks information that is

   not relevant to any claim or defense asserted in this action, is not proportional to the needs of the

   case, or is otherwise beyond the scope of permissible discovery in this action.

          2.      VGT objects to each Interrogatory to the extent that it is inconsistent with, or

   seeks to impose obligations beyond those required by, the Federal Rules of Civil Procedure, the

   Local Rules of Civil Procedure for the United States District Court for the Northern District of

   Oklahoma, or any schedule or ruling that may be entered by the Court.

          3.      VGT objects to each Interrogatory to the extent that it seeks information protected

   from disclosure by the attorney-client privilege, work-product doctrine, or other applicable

   privileges, protections, or immunities (collectively, “Privileged Information”). Inadvertent

   production of Privileged Information shall not constitute a waiver of any privilege or protection

   or of the right to object to the use of the Privileged Information that was inadvertently produced.

   VGT reserves the right to recall from discovery any inadvertently produced Privileged

   Information. See Fed. R. Civ. P. 26(b)(5)(B).




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           4.     VGT objects to each Interrogatory to the extent that it seeks VGT trade secrets or

   other confidential, proprietary or sensitive information of VGT. VGT objects to production of

   any such information until the Court enters an appropriate protective order.

           5.     VGT objects to each Interrogatory to the extent that it seeks information related to

   source code without adequate protection. Source code is among the most highly proprietary

   information within VGT, and the ease with which it can be copied and disseminated warrants the

   highest level of protection.

           6.     VGT objects to each Interrogatory to the extent that it purports to require VGT to

   disclose information from a third party pursuant to a non-disclosure agreement, the content of

   any part of any agreement between VGT and a third party that may not be unilaterally disclosed

   by VGT, or any other confidential information, proprietary information, or trade secrets of a

   third party.

           7.     VGT objects to each Interrogatory to the extent that it seeks information that is

   publicly available, already has been provided or made available to CHG, is reasonably available

   to CHG from other sources, or is otherwise already in CHG’s possession, custody, or control.

           8.     VGT objects to each Interrogatory to the extent that it is unreasonably cumulative

   or duplicative of a prior interrogatory or other discovery in this litigation.

           9.     VGT objects to each Interrogatory, construction, definition, and instruction to the

   extent that it is vague or ambiguous, or fails to state with particularity the requested information.

   VGT interprets any undefined terms using its understanding of those words.

           10.    By providing responses to the Interrogatories, VGT does not waive any right to

   object to the use of such responses, including, for example, on relevance, admissibility, or

   authenticity grounds.


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          11.     VGT objects to CHG’s definition of “VGT,” “you,” and/or “your” to the extent

   that it purports to include entities and persons not a party to this action. For purposes of its

   responses herein, VGT defines the terms “VGT,” “you,” and/or “your” to refer only to itself and

   its directors, officers, employees, and agents.

          12.     VGT objects to CHG’s definition of “VGT Game” in Defendant Castle Hill

   Studios LLC’S First Set of Interrogatories to the extent that it purports to include games that are

   not relevant to this action and to the extent it is inconsistent with CHG’s definition of “VGT

   Game” in the Document Requests. For purposes of its responses herein, VGT defines the term

   “VGT Game” as referring only to VGT’s Class II bingo-based gaming machines that incorporate

   any marks and/or trade dress that VGT alleges CHG has infringed.

          13.     VGT objects to CHG’s definitions of “TDF” in Defendant Castle Hill Studios

   LLC’S First Set of Interrogatories as vague and ambiguous and inconsistent with CHG’s

   definition of “VGT Trade Dress” in the Document Requests. For purposes of its responses

   herein, VGT defines the term “VGT Trade Dress” as any trade dress belonging to VGT that

   VGT alleges CHG has infringed.

          14.     VGT objects to CHG’s characterizations of facts, documents, theories, or

   conclusions in CHG’s constructions, definitions, instructions, and requests. By responding to

   any Interrogatory, VGT does not admit or accept CHG’s characterizations of facts, documents,

   theories, or conclusions.

          15.     VGT objects to each Interrogatory as improper to the extent that CHG seeks to

   shift the burden on an issue for which it bears the burden of proof.

          16.     VGT objects to each Interrogatory to the extent that it seeks information that is

   outside the possession, custody, or control of VGT and to the extent that it would require VGT to


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   search for or create new information. VGT provides only information within its possession,

   custody, or control, that is maintained in the ordinary course of business, and that is located after

   a reasonable search.

          17.     VGT objects to each Interrogatory to the extent that it seeks “all types” of

   information or documentation, or uses similar wording, as overly broad, unduly burdensome,

   duplicative, and not proportional to the needs of the case. In instances where CHG requests that

   VGT identify “all” documents, information, individuals, or things, and VGT has committed to

   respond, responses sufficient to show the non-privileged information specified in the response, to

   the extent relevant and located after reasonably diligent efforts, will be provided.

          18.     VGT objects to the numbering of the Interrogatories to the extent that the

   Interrogatories have discrete subparts and/or cover an overbroad range of topics.

          19.     VGT objects to each Interrogatory to the extent that it calls for a legal conclusion

   or the mental impressions of VGT’s attorneys, or that it purports to require VGT and its

   attorneys to form, read, set forth, or perform a legal analysis. Any response by VGT shall not be

   construed as providing a legal conclusion regarding the meaning or application of any terms or

   phrases used in Defendants’ Interrogatories, definitions, or instructions. To the extent that a

   request seeks information other than factual information, VGT objects to such request as

   improper.

          20.     The following responses are based on information reasonably available to VGT.

   VGT reserves its right to amend or supplement these objections and responses as additional

   information becomes available or is disclosed or in the event of error, inadvertent mistake, or

   omission.




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            SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES

   INTERROGATORY NO. 1:

          State all facts upon which you base the claims of trademark infringement alleged in the

   Complaint. (As part of your answer, state each CHG Mark and the corresponding VGT Mark with

   which you contend such CHG Mark is likely to be confused.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 1:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overly broad and unduly burdensome and to the extent

   that it seeks Privileged Information. Subject to and without waiving the preceding general and

   specific objections, VGT responds as follows:

          As a preliminary matter, VGT disagrees with the suggestion implicit within this

   interrogatory and CHG’s statements elsewhere that trademarks and trade dress are readily

   distinguishable. Both trademarks and trade dress serve as source indicators, but the concept of

   trade dress is both broader and narrower than the concept of a trademark. On the one hand, trade

   dress law is a subset of trademark law, but on the other, trade dress law encompasses trademark

   law in that it extends to the overall look and feel of a product (potentially including multiple

   source indicators as well as individually non-protectable elements), as opposed to being limited

   to an individual source indicator. For purposes of these responses, therefore, VGT attempts to

   follow CHG’s request for separation of these concepts to the best of its ability, but in light of the

   overlap between the concepts of trademarks and trade dress, VGT states that all facts identified

   in response to Interrogatory No. 1 also apply to Interrogatory No. 2 and vice versa.

          With that background, VGT owns exclusive rights to the VGT Marks that it uses in

   connection with the VGT Games. The VGT Marks include the names of the games, the games’

   logos, the games’ characters, the games’ artwork, and all other source-identifying words, names,
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   symbols, and designs. VGT owns federal trademark registrations for several of the VGT Marks.

   VGT also established common law rights for each of the VGT Marks, including any unregistered

   Marks, on the date it began using each Mark.

          The VGT Marks are inherently distinctive and have become commercially strong as a

   result of, among other factors, the following: (1) VGT has exclusively used the VGT Marks for

   years in connection with its popular and successful games; (2) VGT has emphasized the VGT

   Marks in its advertising, marketing, and promotional materials; (3) VGT has tried to develop and

   foster the reputation, recognition, and goodwill associated with the VGT Games through the

   VGT Marks; and (4) the VGT Marks have been the subject of unsolicited publicity. The VGT

   Marks are thus recognized by consumers as indicators that the source of the VGT Games is

   VGT.

          CHG, which was founded by former VGT employees and employs former VGT

   employees, offers games with marks confusingly similar to marks used by VGT. In or around

   March 2015, CHG began advertising on its website its first four games, some of which

   incorporated marks that resemble VGT Marks; however, these original CHG games were Class

   III games, in contrast to VGT’s Class II games. Between March 2015 and June 2016, CHG

   began offering Class II games that more closely resemble VGT’s. Indeed, more than half the 24

   Class II games on CHG’s website at the time of the Complaint incorporate marks (including the

   names of the games and/or the games’ artwork, characters, and/or logos) confusingly similar to

   those of the VGT Games. The chart below identifies the series of VGT games that include the

   VGT Marks and the corresponding CHG games that include similar marks:

                       VGT                                               CHG

   Crazy Bill Series and Dynamite Daisy Series        Welcome to Nugget Mountain


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   Mr. Money Bags Series                             New Money

   Polar High Roller Series                          Arctic Cash and Arctic Ice

   The Lucky Leprechaun Series                       Dublin Your Luck

   Hot Red Ruby Series                               Double Hotness

   Gems and Jewels Series                            Genie’s Gems

   Mr. Millionaire Series                            Mr. Martini and Mr. Martini: Vegas Baby

   Greenback Jack Series                             Coin Slinger

   Planetary Pigs Series                             Aces & Hogs

   Countin’ Cash Series and Ca$hin’ In Series        Amazing Ca$h

   Diamond Fever Series and Radiant Rocks            10,000 Diamonds and 20,000 Diamonds
   Series

   Cap’n Crabby’s Ca$h Series                        Captain Bacon

   Red Hot Rubies x2 Series                          Pink Sapphires

   Super Speedway Sevens Series                      Soapbox Sally

   Lucky Ducky Series                                Quack-Tastic!

   Crazy Cherry Series                               Amazing Cherry



   As explained above, the VGT Marks include the names of the games as well as the visual images

   incorporated into the games, including the games’ artwork, characters, and logos. The CHG

   games use similar visual images, including the games’ artwork, characters, and/or logos. Below

   are examples of such similar visual images:




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      VGT - Crazy Billions         VGT - Dynamite Daisy            CHG - Welcome to Nugget
                                                                          Mountain




                VGT - Mr. Money Bags                       CHG - New Money




     VGT - Polar High Roller           CHG - Arctic Cash               CHG - Arctic Ice




          VGT - The Lucky Leprechaun                       CHG - Dublin Your Luck




              VGT - Hot Red Ruby                            CHG - Double Hotness




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            VGT - Gems and Jewels                            CHG - Genie’s Gems




       VGT - Mr. Millionaire        CHG - Mr. Martini: Vegas Baby        CHG - Mr. Martini




             VGT - Greenback Jack                            CHG - Coin Slinger




                VGT - Planetary Pigs                           CHG - Aces & Hogs




        VGT - Countin’ Cash               VGT - Ca$hin’ In             CHG - Amazing Ca$h




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       VGT - Radiant Rocks 1           CHG - 10,000 Diamonds          CHG - 20,000 Diamonds




           VGT - Cap’n Crabby’s Ca$h                         CHG - Captain Bacon




            VGT - Red Hot Rubies x2                          CHG - Pink Sapphires




          VGT - Super Speedway Sevens                        CHG - Soapbox Sally




               VGT - Lucky Ducky                             CHG - Quack-Tastic!




   1
    As described in the Complaint, VGT has another diamond-themed game, Diamond Fever, not
   pictured here.
                                               11
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          That so many of CHG’s Class II games contain marks similar to the VGT Marks suggests

   that CHG seeks to confuse players.

          The likelihood of confusion created by this intentional offering of essentially identical

   goods with nearly identical marks is even greater because CHG’s games are in direct competition

   with the VGT Games. Indeed, CHG’s games appear in the same casinos as the VGT Games,

   including in Oklahoma, and are often in close proximity to the VGT Games.

          As a result of these actions and given that the relevant group of consumers includes both

   sophisticated and unsophisticated consumers, CHG has succeeded in sowing confusion among

   consumers, as described in greater detail in the response to Interrogatory No. 12, and is likely to

   cause further confusion if not enjoined.

   INTERROGATORY NO. 2:

          State all facts upon which you base the claims of trade dress infringement alleged in the

   Complaint. (As part of your answer, state the name of each CHG Game and the corresponding

   VGT Game with which each CHG Game is likely to be confused and describe with particularity

   the TDF present in each CHG Game.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 2:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overly broad and unduly burdensome and to the extent

   that it seeks Privileged Information. Subject to and without waiving the preceding general and

   specific objections, VGT responds as follows:

          As a preliminary matter, VGT disagrees with the suggestion implicit within this

   interrogatory and CHG’s statements elsewhere that trademarks and trade dress are readily

   distinguishable. Both trademarks and trade dress serve as source indicators, but the concept of

   trade dress is both broader and narrower than the concept of a trademark. On the one hand, trade
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   dress law is a subset of trademark law, but on the other, trade dress law encompasses trademark

   law in that it extends to the overall look and feel of a product (potentially including multiple

   source indicators as well as individually non-protectable elements), as opposed to being limited

   to an individual source indicator. For purposes of these responses, therefore, VGT attempts to

   follow CHG’s request for separation of these concepts to the best of its ability, but in light of the

   overlap between the concepts of trademarks and trade dress, VGT states that all facts identified

   in response to Interrogatory No. 1 also apply to Interrogatory No. 2 and vice versa.

          VGT owns exclusive rights to the trade dress that it uses in connection with Class II

   bingo-based games. The “VGT Trade Dress” for each of the VGT Games consists of the “look

   and feel” of each VGT Game as a whole. The VGT Trade Dress includes, but is not limited to,

   the following elements: (1) trade dress features shared throughout most or all of VGT’s

   standard-sized Class II 3-Reel mechanical games (the “Shared Trade Dress Features”) and (2)

   game-specific themes (which themselves include the names of the games and the games’

   characters, artwork, and logos), some of which are shared by multiple games within a given

   series (e.g., the Crazy Billions game and the Crazy Bill’s Gold Strike game both incorporate the

   Crazy Bill theme and are therefore part of the Crazy Bill series of games).

          The Shared Trade Dress Features include, but are not limited to, the following: the

   cabinet that houses the games (“GAME CABINET”), the red strobe light on top of the cabinet, to

   the extent it is not part of the cabinet (“RED CANDLE”), the sounds made during standard game

   play (“GAME PLAY SOUND”), the mechanical bell sound that signals that a player has won

   (“AWARD SOUND”), the winning bingo patterns and other game play elements (“BINGO

   PLAY AND PAYS”), and the red display during bonus play (“RED SCREEN FREE SPINS”),

   all of which have been copied by CHG in its Class II games.


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          The VGT Trade Dress (i.e., the look and feel of each VGT Game as a whole) does not

   consist of a common shape or design, nor is it a mere refinement of a commonly adopted and

   well-known form of ornamentation; instead, the VGT Trade Dress is unique and therefore

   inherently distinctive. The VGT Trade Dress has also become commercially strong as a result

   of, among other factors, the following: (1) VGT has exclusively used the VGT Trade Dress for

   years in connection with its popular and successful games; (2) VGT has emphasized the VGT

   Trade Dress in its advertising, marketing, and promotional materials; (3) VGT has tried to

   develop and foster the reputation, recognition, and goodwill associated with the VGT Games

   through the VGT Trade Dress; (4) and the VGT Trade Dress has been the subject of unsolicited

   publicity. The VGT Trade Dress is thus recognized by consumers as an indicator that the source

   of the VGT Games is VGT.

          In addition to being inherently distinctive and commercially strong, the VGT Trade Dress

   is arbitrary and therefore non-functional. The VGT Trade Dress is not essential to the VGT

   Games because it is not the reason VGT Games work. Furthermore, the design of the VGT

   Trade Dress is not especially simple or inexpensive; the VGT Trade Dress is not the subject of a

   utility patent; VGT does not emphasize the utilitarian advantages of the VGT Trade Dress in its

   advertising and marketing; and there are alternate designs to the VGT Trade Dress readily

   available to VGT’s competitors.

          CHG, which was founded by former VGT employees and employs former VGT

   employees, offers games with trade dress confusingly similar to that used by VGT. In or around

   March 2015, CHG began advertising on its website its first four games, some of which

   incorporated trade dress features that resemble the VGT Trade Dress; however, these original

   CHG games were Class III games, in contrast to VGT’s Class II games. Between March 2015


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   and June 2016, CHG began offering Class II games that more closely resemble VGT’s. Indeed,

   more than half of the 24 Class II games on CHG’s website at the time of the Complaint

   incorporate trade dress confusingly similar to the VGT Trade Dress. See Response to

   Interrogatory No. 1. The chart below identifies the infringed series of VGT Games and the

   corresponding CHG games that incorporate trade dress confusingly similar to the VGT Trade

   Dress:

                           VGT                                          CHG

   Crazy Bill Series and Dynamite Daisy Series     Welcome to Nugget Mountain

   Mr. Money Bags Series                           New Money

   Polar High Roller Series                        Arctic Cash and Arctic Ice

   The Lucky Leprechaun Series                     Dublin Your Luck

   Hot Red Ruby Series                             Double Hotness

   Gems and Jewels Series                          Genie’s Gems

   Mr. Millionaire Series                          Mr. Martini and Mr. Martini: Vegas Baby

   Greenback Jack Series                           Coin Slinger

   Planetary Pigs Series                           Aces & Hogs

   Countin’ Cash Series and Ca$hin’ In Series      Amazing Ca$h

   Diamond Fever Series and Radiant Rocks          10,000 Diamonds and 20,000 Diamonds
   Series

   Cap’n Crabby’s Ca$h Series                      Captain Bacon

   Red Hot Rubies x2 Series                        Pink Sapphires


   Below are examples of specific games in each of the above series that incorporate the VGT

   Trade Dress as compared to CHG’s games that incorporate similar trade dress:


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      VGT - Crazy Billions      VGT - Dynamite Daisy       CHG - Welcome to Nugget
                                                                  Mountain




                                         16
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                VGT - Mr. Money Bags                    CHG - New Money




     VGT - Polar High Roller        CHG - Arctic Cash               CHG - Arctic Ice




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          VGT - The Lucky Leprechaun                 CHG - Dublin Your Luck




             VGT - Hot Red Ruby                       CHG - Double Hotness




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             VGT - Gems and Jewels                       CHG - Genie’s Gems




       VGT - Mr. Millionaire     CHG - Mr. Martini: Vegas Baby      CHG - Mr. Martini




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             VGT - Greenback Jack                      CHG - Coin Slinger




              VGT - Planetary Pigs                     CHG - Aces & Hogs




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       VGT - Countin’ Cash             VGT - Ca$hin’ in              CHG - Amazing Ca$h




       VGT - Radiant Rocks 2        CHG - 10,000 Diamonds           CHG - 20,000 Diamonds




   2
    As described in the Complaint, VGT also has another diamond-themed game, Diamond Fever,
   not pictured here.
                                                21
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          VGT - Cap’n Crabby’s Ca$h                   CHG - Captain Bacon




            VGT - Red Hot Rubies x2                   CHG - Pink Sapphires




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          CHG’s use of similar themes, including the names of games and the games’ artwork,

   characters, and logos, is further described in VGT’s Response to Interrogatory No. 1, which is

   incorporated herein.

          In addition, the following close-up images show examples of VGT pay tables that CHG

   has copied:

                  VGT Pay Tables                                    CHG Pay Tables

                 MR. MONEY BAGS                                       NEW MONEY




                                                                      GOLDEN 777



             POLAR HIGH ROLLER




                                                                     COIN SLINGER




                                                  23
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                                                      DOUBLE HOTNESS




                                                       HOT NEW CASH




                                                     DADDY MOREBUCKS




                                                       10,000 DIAMONDS




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                                              WELCOME TO NUGGET MOUNTAIN




            GEMS AND JEWELS




                                                     PLATINUM EXPRESS




                                                     DUBLIN YOUR LUCK
              RED HOT RUBY




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                                                                    AMAZING HOT




          In addition, CHG has copied VGT bingo patterns, including the following patterns: Inside

   Corners; Private Stripes; Postage Stamp; Corners; and Corporal Stripes.

          Class II games offered by third-party competitors, examples of which are shown below,

   further demonstrate that the VGT Trade Dress is distinctive and that the CHG games are likely to

   cause confusion with VGT:




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          That so many of CHG’s Class II games contain trade dress similar to the VGT Trade

   Dress suggests that CHG seeks to confuse players.

          The likelihood of confusion created by this intentional offering of essentially identical

   goods with nearly identical trade dress is even greater because CHG’s games are in direct

   competition with the VGT Games. Indeed, CHG’s games appear in the same casinos as the VGT

   Games, including in Oklahoma, and are often in close proximity to the VGT Games.

          As a result of these actions and given that the relevant group of consumers includes both

   sophisticated and unsophisticated consumers, CHG has succeeded in sowing confusion among

   consumers, as described in greater detail in the response to Interrogatory No. 12, and is likely to

   cause further confusion if not enjoined.



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   INTERROGATORY NO. 3:

          State all facts supporting the claims of unfair competition claims alleged in the

   Complaint.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 3:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory to the extent that it seeks Privileged Information. Subject

   to and without waiving the preceding general and specific objections, VGT responds as follows:

          The facts stated in responses to Interrogatory Nos. 2, 3, and 12, which VGT incorporates

   herein, also support claims for unfair competition.

   INTERROGATORY NO. 4:

          State all facts supporting your misappropriation of trade secrets claim. (As part of your

   answer, describe with specificity each trade secret you claim CHG misappropriated, and for

   each such trade secret (hereafter in this interrogatory, “it”) state when it was taken, how it was

   taken, who took it, how CHG obtained it, how CHG has used it (including, if applicable, in

   which CHG Games it has been used), why it has independent economic value, the approximate

   value of it, VGT’s efforts to keep it secret, when such efforts to keep it secret began and

   finished, and why it could not be derived independently with publicly-available information.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 4:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overbroad and unduly burdensome and to the extent that

   it seeks Privileged Information. VGT further objects to this interrogatory to the extent that it

   purports to be a single interrogatory under Civil Local Rule 33.1 and to the extent it seeks

   information that is in CHG’s possession or otherwise not in the possession, custody or control of

   VGT. VGT further objects to this interrogatory to the extent its seeks premature expert
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   discovery by, inter alia, asking VGT to place an “approximate value” on each trade secret.

   Subject to and without waiving the preceding general and specific objections, VGT responds as

   follows:

          VGT owns trade secrets relating to the development, operation, and commercialization of

   its Class II bingo-based games.

          The development and operation of VGT’s games incorporate, reflect, or are based on

   trade secrets, including trade secrets relating to the math underlying the games, proprietary

   algorithms for playing bingo (including the process and timing for the ball drops), the hit

   frequency for winning bingo patterns, proprietary software development processes and tools, and

   the source code used to operate the games. VGT’s bingo-based games operate based on source

   code, including, for example, the code used for purposes of controlling the bingo server and the

   code used for purposes of controlling the client bingo machines (“client source code”). VGT’s

   Live Call 2003 Bingo Server is an example of VGT’s server software. Client 6 and Client 7 are

   examples of VGT’s client software.

          The bingo server software, including the Live Call 2003 Bingo Server, controls, inter

   alia, functionality for the bingo game, including the ball calls, distribution of bingo cards,

   tracking of pay tables, and determination of wins. In addition, the bingo server software

   provides accounting, administration, and configuration functionality. The client source code

   controls other aspects of the bingo games, including the control of mechanical reels and the red

   screen free spin feature, the processes for accepting wagers, the processes for generating payouts,

   and the interactions with the bell used by the player terminals to indicate successful outcomes.

          Operation of VGT’s bingo-based games depends on the underlying math developed for

   the games. The math dictates, among other things, the probabilities of winning, the payouts for


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   each win, and the volatility of the game (i.e., the level of risk associated with the game).

   Ultimately, it is the math behind the game that determines the percentage of wagered money that

   the game pays back to the players.

          Other trade secrets relate to VGT’s overall system architectures and designs, including

   designs that enable its bingo-based games to comply with regulatory requirements while

   providing a good customer experience. In addition, VGT created its bingo-based games using

   proprietary game development processes, including proprietary software and tools used to test

   the games, such as by determining the hit frequencies for winning bingo patterns. VGT also has

   trade secrets relating to financial and customer information, including the pricing of its games

   and the revenue attributable to those games.

          The precise nature of VGT’s trade secrets, including those described above, is

   confidential. VGT will provide additional information upon entry of a protective order.

          VGT has invested time and resources in developing its trade secrets, which are integral to

   its business operations. VGT’s trade secrets possess independent economic value by virtue of

   not being generally known to, nor readily ascertainable through legitimate means by, other

   persons who could benefit financially from their disclosure or use. VGT has enjoyed

   considerable success over the years and has developed loyal customers and players. This success

   is due, in part, to the value of VGT’s trade secrets.

          VGT has used layers of security to preserve and maintain confidentiality and to prevent

   unauthorized use or disclosure of its trade secrets and other confidential information. These

   methods include, without limitation, (1) restricting use of and access to documents that contain

   trade secrets and confidential information; (2) restricting use of and access to computer networks

   that contain trade secrets and confidential information; (3) requiring employees to sign


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   employment agreements, which require them to maintain in confidence trade secrets and

   confidential information; and (4) requiring employees to attend presentations that discuss trade

   secrets and the importance of protecting them. Through these layers of security, including

   requiring employees to protect the secrecy of its trade secrets and other confidential information,

   VGT has taken reasonable steps to preserve the secrecy of its trade secrets.

          The following is an example of relevant language contained in VGT’s employee

   agreements requiring employees to maintain trade secrets in confidence:

          3. I understand that my employment by the Company creates a
          relationship of confidence and trust between me and the Company with
          respect to any information of a confidential or secret nature that may be
          learned or developed by me during the period of my employment by the
          Company and which (i) relates to the business of the Company or to the
          business of any customer or supplier of the Company, or (ii) has been
          created, discovered or developed by, or has otherwise become known to
          the Company and has commercial value in the business in which the
          Company is engaged (hereinafter called "Proprietary Information"). By
          way of illustration, but not limitation, Proprietary Information includes
          trade secrets, processes, formulas, computer programs, data, know-how,
          inventions, improvements, techniques, marketing plans, product plans,
          strategies, forecasts and customer lists.

          4. All Proprietary Information shall be the sole property of the Company
          and its assigns. I hereby assign to the Company any rights I may have or
          acquire in all Proprietary Information. At all times, both during my
          employment and after its termination, I will keep in confidence and trust
          all Proprietary Information, and I will not use or disclose any Proprietary
          Information or anything relating to it without the prior written consent of
          the Company, except as may be necessary in the ordinary course of
          performing my duties as an employee of the Company. In the event of the
          termination of my employment by me or by the Company for any reason, I
          will promptly deliver to the Company all materials, documents and data of
          any nature containing or pertaining to any Proprietary Information and I
          will not take with me any such materials, documents or data or any
          reproduction thereof.

          CHG was founded by former VGT employees and employs former VGT employees. As

   of December 2016, three of five members of CHG’s executive team were former VGT


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   employees: John R. Taylor III was Vice President of Engineering at VGT for almost six years

   before becoming President and Chief Executive Office of CHG; Alan Roireau was Director of

   Software at VGT for almost eight years before becoming Chief Development Officer of CHG;

   and Jason Sprinkle worked at VGT for 17 years in senior roles, including as Treasurer, Director

   of Operations/General Manager, and Director of Hardware Development before becoming Chief

   Creative Officer of CHG.

          In addition to these officials, other employees have left VGT to work for CHG, including

   George Weilacher (software engineer), Brian Cody (software engineer), Aaron Milligan (artist),

   Seth Morgan (software engineer). Josh Larson (software engineer), Paul Suggs (Software

   Engineer Group Manager), Rich Sisson (artist), Kelly Davis (software engineer), Robert

   Gilkerson (software engineer), Dan Fulton (statistician), and Teri Gomez (project manager).

          During the time these former VGT employees were employed at VGT, they had access to

   VGT’s trade secrets. These former VGT employees were aware that VGT’s trade secrets are

   confidential and proprietary and that such information should not be shared outside VGT or used

   for the benefit of anyone other than VGT. The former VGT employees also signed agreements

   that included confidentiality provisions requiring them to protect the secrecy of VGT’s trade

   secrets and other confidential information.

          CHG’s misuse of VGT’s trade secrets can be seen in how the play of CHG’s games

   mimics the play of VGT’s games, including without limitation, the payouts, bingo mechanics,

   and volatility, which are determined by the source code and underlying math of the game. It is

   unlikely that the play of VGT’s games would so closely mimic CHG’s games unless former

   VGT employees had used VGT’s trade secrets in CHG’s games. It is also unlikely that CHG

   would have been able to release its games as quickly as it did without using VGT’s trade secrets.


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   CHG’s improper copying of VGT’s trade dress features, such as red free spins, also suggests that

   CHG intended to unfairly compete with VGT and therefore would have used VGT’s trade

   secrets.

              Discovery is ongoing, and VGT expects to discover information about how CHG

   employees have used its trade secrets.

              VGT will produce documents in accordance with Fed. R. Civ. P. 33(d), from which CHG

   may determine additional information responsive to this interrogatory, and VGT will supplement

   its response to this interrogatory to specify documents by Bates number or source code directory

   after the documents have been produced.

              In light of the sensitive nature of the information sought, VGT will provide a further

   response to this interrogatory after entry of a suitable protective order.

   INTERROGATORY NO. 5:

              State all facts supporting your claim for misappropriation of confidential business

   information asserted in the Complaint. (As part of your answer, describe with specificity each

   piece of confidential business information you claim CHG misappropriated, and for each such

   piece of information (hereafter in this interrogatory, “it”) state when it was taken, how it was

   taken, the name(s) of each person who took it, how CHG obtained it, how CHG has used it

   (including, if applicable, in which CHG Games it has been used), why it has independent

   economic value, the approximate value of it, all VGT’s efforts to keep it secret, when such

   efforts to maintain secrecy began and finished, and why it could not be derived independently

   with publicly-available information.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 5:

              VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overbroad and unduly burdensome and to the extent that
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   it seeks Privileged Information. VGT further objects to this interrogatory to the extent that it

   purports to be a single interrogatory under Civil Local Rule 33.1, and to the extent it seeks

   information that is in CHG’s possession or otherwise not in the possession, custody or control of

   VGT. VGT further objects to this interrogatory to the extent its seeks premature expert

   discovery by, inter alia, asking VGT to place an “approximate value” on each piece of

   confidential business information. Subject to and without waiving the preceding general and

   specific objections, VGT responds as follows:

          VGT incorporates by reference its Response to Interrogatory No. 4. Additionally, VGT

   reserves the right to identify additional confidential business information, after the entry of

   suitable protective order. Discovery is ongoing, and VGT expects that it will update this

   response with information obtained from CHG.

   INTERROGATORY NO. 6:

          State the background and history of each trade secret and each piece of confidential

   business information listed in your responses to Interrogatories 4 and 5. (Include as part of your

   answer when the trade secret or confidential information (hereafter in this interrogatory, “it”)

   was created; the name, address, and telephone number of each person who helped create it; why

   it was created; how it has been used (including, if applicable, the name of each VGT Game in

   which it has been used); the name, address, and phone number of each person who has had

   access to it; when such persons had access; which of the persons who had access actually

   accessed it and when; and where and how it has been stored since it came into existence.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 6:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overbroad and unduly burdensome to the extent it seeks

   a precise accounting of every individual involved in the development of each trade secret, each
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   person with access to each trade secret, and each time such an individual actually accessed the

   trade secret. VGT further objects to the extent that it purports to be a single interrogatory under

   Civil Local Rule 33.1. VGT further objects to this interrogatory to the extent it purports to place

   requirements on VGT inconsistent Federal Rule of Civil Procedure 33(d). Subject to and without

   waiving the preceding general and specific objections, VGT responds as follows:

          VGT incorporates by reference its responses to Interrogatories Nos. 4 and 5. VGT began

   developing its bingo-based games in the late 1990’s and/or early 2000’s. VGT personnel

   contributing to this early work included Jon Yarbrough and David Wright. VGT redesigned its

   platform in or around 2003. VGT employees have developed, refined, and improved these

   systems since that time, including Josh Davis, Chris Shults, and Kelton Flynn. The source code

   and documents that VGT intends to produce in this action contain additional responsive

   information, including development dates and the individuals who have contributed to the

   development of VGT’s trade secrets.

          VGT employees and agents have had access to its trade secrets, under an obligation of

   confidentiality. These employees and agents include individuals who later worked for CHG,

   including John Taylor, Jason Sprinkle, Alan Roireau, Andy Scheiner, Bryan Cody, Dan Fulton,

   George Weilacher, Josh Larson, Kelly Davis, Paul Suggs, and Seth Morgan. Testing labs have

   also had access to some of VGT’s trade secrets as part of certifying games, also under an

   obligation of confidentiality.

          VGT has also developed its commercial, business, and financial trade secrets through

   more than two decades of hard work. Many officials and employees at VGT have been involved

   in developing these trade secrets.




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          VGT will produce documents in accordance with Fed. R. Civ. P. 33(d), from which CHG

   may determine additional information responsive to this interrogatory, and VGT will supplement

   its response to this interrogatory to specify documents by Bates number or source code directory

   after the documents have been produced.

   INTERROGATORY NO. 7:

          For each VGT Mark and for each TDF of a VGT Game (including but not limited to the

   TDF described in paragraphs 22-40 of the Complaint), state when it was created, the name

   address and telephone number of each person who helped create it, each VGT Game that uses it,

   the dates it was in use, and the locations it was in use.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 7:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overbroad, unduly burdensome, vague, and ambiguous,

   including to the extent that it uses the term “create” with respect to the VGT Trade Dress and

   requests VGT to identify “each VGT Game that uses it” and “the locations it was in use” and to

   the extent that it purports to be a single interrogatory under Civil Local Rule 33.1 and to the

   extent that it seeks information already in the possession, custody, or control of CHG employees

   and to the extent that it seeks irrelevant personal information. Subject to and without waiving

   the preceding general and specific objections, VGT responds as follows:

          As a preliminary matter, VGT notes that some elements of trade dress identified below

   have been modified over time as VGT seeks to improve and update its products. Accordingly, in

   responding to this interrogatory, VGT has attempted to identify the earliest date when the trade

   dress element was created or adopted.

          To the best of VGT’s knowledge, the concept for the Crazy Bill Theme was conceived by

   Jon Yarbrough (founder of VGT) and/or Jason Sprinkle (Director of Operations/General
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   Manager of VGT at the time) in or around the late 1990’s and/or early 2000’s, and the original

   artwork for the theme was created soon thereafter by Rob Lamb and/or Dean Yeagle

   (independent contractors).

           To the best of VGT’s knowledge, the Mr. Money Bags Theme originated in or around the

   early 2000’s, when Mr. Sprinkle found artwork created by Troy Zurawski (Game Development

   Manager / Art Director at Suburban Graphics, Inc. at the time), and asked Suburban Graphics to

   incorporate that artwork (or a variation thereof) into a game entitled Mr. Money Bags (aka Mr.

   Moneybags).

           To the best of VGT’s knowledge, the concept for the Polar High Roller Theme was

   conceived by David (Dave) Marsh (Director of Creative Services at VGT at the time) and/or

   VGT artists in or around the late 2000’s, and the original artwork for the theme was created soon

   thereafter.

           To the best of VGT’s knowledge, the concept for the Lucky Leprechaun Theme was

   conceived by Mr. Yarbrough and/or Mr. Sprinkle in or around the late 1990’s and/or early

   2000’s, and the original artwork for the theme was created soon thereafter by Rob Lamb

   (independent contractor).

           To the best of VGT’s knowledge, the concept for the Hot Red Ruby Theme was

   conceived by Mr. Yarbrough and/or Mr. Sprinkle in or around the early 2000’s, and the original

   artwork for the theme was created soon thereafter by Randy Jones (Art Director at Advanced

   Graphic Designs at the time).

           To the best of VGT’s knowledge, the concept for the Gems and Jewels Theme was

   conceived by Mr. Yarbrough and/or Mr. Sprinkle in or around the early 2000’s, and the original

   artwork for the theme was created soon thereafter by Mr. Jones.


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           To the best of VGT’s knowledge, the concept for the Mr. Millionaire Theme was

   conceived by Mr. Marsh and/or VGT artists in or around the mid 2000’s, and the original

   artwork for the theme was created soon thereafter by Mikohn Gaming.

           To the best of VGT’s knowledge, the concept for the Greenback Jack Theme was

   conceived by Mr. Marsh and/or VGT artists in or around the late 2000’s, and the original artwork

   for the theme was created soon thereafter by Dean Yeagle (independent contractor).

           To the best of VGT’s knowledge, the concept for the Planetary Pigs Theme was

   conceived by Ryan Cuddy (Vice President of Game Design at VGT at the time) and/or VGT

   artists in or around the early 2010’s, and the original artwork for the theme was created soon

   thereafter.

           To the best of VGT’s knowledge, the concept for the Countin’ Cash Theme was

   conceived by Mr. Marsh and/or Brian Reynolds (Artist at VGT) and/or other VGT artists in or

   around the mid 2000’s, and the original artwork for the theme was created soon thereafter by Mr.

   Reynolds.

           To the best of VGT’s knowledge, the concept for the Diamond Fever Theme was

   conceived by Mr. Marsh and/or VGT artists in or around the mid 2000’s, and the original

   artwork for the theme was created soon thereafter.

           To the best of VGT’s knowledge, the concept for the Radiant Rocks Theme was

   conceived by Mr. Marsh and/or VGT artists in or around the late 2000’s, and the original artwork

   for the theme was created soon thereafter.

           To the best of VGT’s knowledge, the concept for the Cap’n Crabby’s Ca$h Theme was

   conceived by Tracy Reynolds (independent contractor) in or around the late 2000’s, and the

   original artwork for the theme was created soon thereafter by Ms. Reynolds.


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            To the best of VGT’s knowledge, the concept for the Red Hot Rubies Theme was

   conceived by Mr. Yarbrough and/or Mr. Sprinkle in or around the early 2000’s, and the original

   artwork for the theme was created soon thereafter.

            To the best of VGT’s knowledge, the concept for the Lucky Ducky Theme was

   conceived by Mr. Yarbrough and/or Mr. Sprinkle in or around the early 2000’s, and the original

   artwork for the theme was created soon thereafter.

            To the best of VGT’s knowledge, the concept for the Super Speedway Sevens Theme

   was conceived by Mr. Marsh and/or VGT artists in or around the mid 2000’s, and the original

   artwork for the theme was created soon thereafter by Mr. Jones.

            To the best of VGT’s knowledge, the concept for the Crazy Cherry Theme was conceived

   by Mr. Yarbrough and/or Mr. Sprinkle in or around the early 2000’s, and the original artwork for

   the theme was created soon thereafter.

            To the best of VGT’s knowledge, VGT first adopted the GAME CABINET in or around

   the late 1990’s. Mr. Sprinkle and Butch McGill (Technical Services Director at VGT at the

   time) worked with a particular third party to design a cabinet to VGT’s specifications for all of

   VGT’s 3-reel mechanical games.

            To the best of VGT’s knowledge, VGT first adopted the RED CANDLE in or around the

   late 1990’s. Mr. Yarbrough and/or Mr. Sprinkle selected a red strobe light made by a particular

   third party and VGT installed the light on top of the cabinet for all of its 3-reel mechanical

   games.

            To the best of VGT’s knowledge, VGT first adopted the GAME PLAY SOUND in the

   1990’s. Mr. Yarbrough and/or David Wright (who worked in VGT’s Engineering-Software

   department at the time) selected the sounds for all of VGT’s 3-reel mechanical games.


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          To the best of VGT’s knowledge, VGT first adopted the AWARD SOUND in or around

   1998 or 1999. Mr. Yarbrough selected a mechanical bell made by a particular third party from

   an assortment of sample bells purchased by Mr. McGill and VGT installed the bell in all of its 3-

   reel mechanical games.

          To the best of VGT’s knowledge, VGT first adopted the BINGO PLAY AND PAYS in

   or around the late 1990s or early 2000s.

          To the best of VGT’s knowledge, VGT first adopted the RED SCREEN FREE SPINS for

   all of its 3-reel mechanical games in or around 1998 or 1999 after Mr. Yarbrough and/or Mr.

   Wright conceived of the concept.

          VGT will produce documents in accordance with Fed. R. Civ. P. 33(d), from which CHG

   may determine additional information responsive to this interrogatory, and VGT will supplement

   its response to this interrogatory to specify documents by Bates number after the documents have

   been produced.

   INTERROGATORY NO. 8:

          State the name, address, and telephone number of each person who provided information

   or documents that was reviewed in responding to these interrogatories, and for each person, the

   topics of information or documents provided, organized by interrogatory number.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 8:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overbroad, unduly burdensome, vague, and ambiguous,

   including to the extent that it uses the term “reviewed” and to the extent that it seeks Privileged

   Information or irrelevant personal information. Subject to and without waiving the preceding

   general and specific objections, VGT responds as follows:


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          VGT provides the following table sufficient to identify persons knowledgeable about the

   topics of Defendant Castle Hill Studio LLC’s First Set of Interrogatories:

           Individual                  Address                               Subject
   1.   Jon Cossin           c/o Covington & Burling LLP      Design and development of VGT
                                                              products, including software and
                                                              game play
   2.   Josh Davis           c/o Covington & Burling LLP      Design and development of VGT
                                                              products, including software and
                                                              game play; departure of VGT
                                                              employees to CHG
   3.   Betsy Dickinson      c/o Covington & Burling LLP      Marketing and advertising of VGT
                                                              products
   4.   Will Harvie          c/o Covington & Burling LLP      Design and development of VGT
                                                              products, including software and
                                                              game play; VGT products in
                                                              comparison to other products in the
                                                              marketplace, including CHG
                                                              products; departure of VGT
                                                              employees to CHG
   5.   Rob Lamb             c/o Covington & Burling LLP      Design and development of VGT
                                                              products, including the game
                                                              artwork
   6.   Jim Marcum           c/o Covington & Burling LLP      Instance of actual confusion
                                                              between VGT products and CHG
                                                              products
   7.   David Marsh          c/o Covington & Burling LLP      Design and development of VGT
                                                              products, including the game
                                                              themes, sounds and artwork;
                                                              departure of VGT employees to
                                                              CHG
   8.   Butch McGill         c/o Covington & Burling LLP      Design and development of VGT
                                                              products, including VGT’s cabinet,
                                                              sounds, red screens, and other trade
                                                              dress features; departure of VGT
                                                              employees to CHG
   9.   Ryan North           c/o Covington & Burling LLP      VGT products in comparison to
                                                              other products in the marketplace,
                                                              including CHG products; design
                                                              and development of VGT products;
                                                              performance of VGT products;
                                                              departure of VGT employees to
                                                              CHG
   10. Barry                 c/o Covington & Burling LLP      Source and history of VGT
       Smitherman                                             products, including VGT’s cabinet,
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                                                               sounds, and other trade dress
                                                               features
   11. James Starr           c/o Covington & Burling LLP       Sales, placement, and performance
                                                               of VGT products; VGT products in
                                                               comparison to other products in the
                                                               marketplace, including CHG
                                                               products; departure of VGT
                                                               employees to CHG
   12.   Kelton Flynn        c/o Covington & Burling LLP       Design and development of VGT
                                                               products, including software and
                                                               game play
   13.   Chris Shults        c/o Covington & Burling LLP       Design and development of VGT
                                                               products, including software and
                                                               game play

   INTERROGATORY NO. 9:

           Identify the date when each VGT Mark that is not uncontested acquired secondary

   meaning in connection with its products, the territorial areas of acquired meaning, and the sales

   volume and advertising expenses up to the time of the acquired meaning.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 9:

           VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overly broad, unduly burdensome, vague, and

   ambiguous, including to the extent that it uses the term “uncontested” and requests VGT to

   identify “the date when each VGT Mark that is not uncontested acquired secondary meaning”

   and the “territorial areas of acquired meaning.” VGT further objects to this interrogatory to the

   extent that it seeks legal conclusions and requests information that is not maintained in the

   ordinary course of business. Subject to and without waiving the preceding general and specific

   objections, VGT responds as follows:

           In accordance with Fed. R. Civ. P. 33(d), VGT will produce documents maintained in the

   ordinary course of business, from which CHG may determine the sales volume of the VGT

   Games and the territorial areas in which the VGT Games have been offered as well as VGT’s

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   advertising expenses for the company as a whole for the past ten years. VGT will supplement

   its response to this interrogatory to specify documents by Bates number after the documents have

   been produced.

   INTERROGATORY NO. 10:

          Identify each person or entity who purchased or leased products from Plaintiff bearing

   any VGT Mark or TDF of a VGT Game prior to September 1, 2017, and list the dates during

   which each product was provided, annual placements for each year each product was provided,

   the amount spent annually on advertising each product, and the geographic area in which each

   product was advertised, provided, and/or sold.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 10:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overbroad, overly broad, unduly burdensome, vague,

   and ambiguous, including to the extent it requests VGT to “[i]dentify each person or entity” and

   has no time period limitations with respect to a start date. VGT further objects to this

   interrogatory to the extent that it purports to be a single interrogatory under Civil Local Rule

   33.1 and to the extent that it requests information that is not maintained in the ordinary course of

   business. Subject to and without waiving the preceding general and specific objections, VGT

   responds as follows:

          In accordance with Fed. R. Civ. P. 33(d), VGT will produce documents maintained in the

   ordinary course of business, from which CHG may determine the annual placements of the VGT

   Games and the locations in which the VGT Games have been placed as well as VGT’s

   advertising expenses for the company as a whole for the past ten years. VGT will supplement

   its response to this interrogatory to specify documents by Bates number after the documents have

   been produced.
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   INTERROGATORY NO. 11:

          For each VGT Game that has trademarks or trade dress you allege CHG has infringed,

   identify each advertisement promoting such game. (As part of your answer, include the date of

   each advertisement; the medium of each advertisement [e.g. television, radio, newspaper,

   internet]; the name of the publication, station or website on which it was advertised; in which

   geographic area the advertisement was distributed; and approximately how many persons

   received or viewed the advertisement.)

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 11:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this interrogatory as overly broad, unduly burdensome, vague, and

   ambiguous, including to the extent it seeks identification of “each advertisement” for “each VGT

   Game,” “the date of each advertisement,” “the medium of each advertisement,” “the name of

   the publication, station or website,” “in which geographic area the advertisement was

   distributed,” and “approximately how many persons received or viewed the advertisement.”

   VGT further objects to this interrogatory to the extent that it purports to be a single interrogatory

   under Civil Local Rule 33.1. Subject to and without waiving the preceding general and specific

   objections, VGT responds as follows:

          VGT has promoted the VGT Games through advertising and marketing materials and

   mediums, including catalogues, trade shows, cut sheets, product presentations, slicks, radio

   advertisements, billboards, swag, Facebook, and the VGT website.

          VGT will produce a representative sampling of such documents in accordance with Fed.

   R. Civ. P. 33(d), from which CHG may determine additional information responsive to this

   interrogatory. In VGT’s first volume of document production, VGT refers CHG to Bates

   numbers VGT0000096 – VGT0000168 and VGT0001693 – VGT0001786 as responsive to this
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   Interrogatory. VGT will supplement its response to this Interrogatory to specify any additional

   documents by Bates number after the documents have been produced.

   INTERROGATORY NO. 12:

          As to each incident known to you of a person having been confused, mistaken, or

   deceived as to the source of Plaintiff’s or Defendant’s products, identify each person involved,

   the dates and reasons for the confusion, the goods or services confused, and any notice received

   or record made of the confusion.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 12:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this request as overly broad, unduly burdensome, vague, and ambiguous,

   including to the extent that it is not limited to the VGT Marks and VGT Trade Dress. Subject to

   and without waiving the preceding general and specific objections, VGT responds as follows:

          VGT states that CHG’s infringement of the VGT Marks and VGT Trade Dress has led to

   actual confusion. VGT identifies examples of incidents of confusion below. VGT reserves the

   right to supplement its response to identify additional incidents.

          •   The first incident happened within the past two years and involved Craig Eubanks

              (Tech II at VGT), who was filling in for the regular service technician at Choctaw

              Casino in Poteau, Oklahoma. The last time Mr. Eubanks had been at the casino, the

              bank of VGT games was to the left of the door. When he walked in the door, he saw

              that the third game from the left had an error message. He noticed that the game was

              not one that he had seen before, and he was excited at the opportunity to work on a

              new game. But when Mr. Eubanks opened the door to the machine and started

              looking at the parts inside, he noticed that some parts were in a different position

              from other games on which he had worked, so he closed the door to look at the
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             artwork on the game. It was at this point that he noticed the Castle Hill logo and

             realized that it was not a VGT game. Mr. Eubanks immediately called the casino

             manager (Laura Bailey, who was second in charge after the site manager) to

             apologize, and the casino manager laughed and said something to the effect they had

             made the same mistake.

         •   Mr. Eubanks was also involved in a second incident – this one within the past year or

             so at Choctaw Casino in Pocola, Oklahoma. There, Candace Williams (a floor

             technician who had been working at the casino for a few years) asked Mr. Eubanks to

             fix a game. Ms. Williams identified the broken game as being in a bank location that

             Mr. Eubanks did not recognize, so he followed her to the location. When Mr.

             Eubanks saw the game, he told Ms. Williams that it was a CHG game, not a VGT

             game. Ms. Williams responded to the effect that the cabinet looked like a VGT

             cabinet, and Mr. Eubanks agreed with her.

         •   Another incident occurred at the first Oklahoma Indian Gaming Association

             (“OIGA”) annual conference and trade show where Castle Hill showed its games,

             which Jim Marcum (Sales Account Manager at VGT) and Josh Akins (Senior Sales

             Account Manager at VGT) believe was in 2015. In the weeks before OIGA that year,

             William Harvey (Product Owner at VGT at the time) asked to shadow Mr. Marcum

             and Mr. Akins at the trade show, and they agreed to let him do so. When the day

             came, Mr. Marcum and Mr. Akins were waiting in the VGT booth for Mr. Harvey.

             When Mr. Harvey arrived at the booth, he apologized and said something along the

             lines of “I went to our other booth.” When Mr. Marcum and Mr. Akins asked Mr.

             Harvey to what other booth he was referring, Mr. Harvey said something like “it’s


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             right over there” and pointed to Castle Hill’s booth. Mr. Marcum and Mr. Akins

             noted Mr. Harvey’s mistake, to which Mr. Harvey said something along the lines of

             “Their games look just like ours. How can they get away with that?”

         •   In May 2016, users on Jokers Wild Forum were discussing the opening of a new

             casino in Livingston, Texas called Naskila Entertainment. See

             http://jokerswildforum.com/showthread.php?2542-A-new-casino-in-Texas!

             (VGT0001673 – VGT0001687). User “KimKyle” said that he or she hoped the new

             casino would have “some red screen machines since it seems that people do well on

             those,” but also noted that he or she did not “see any red lucky ducks in the pics” that

             the casino had posted on Facebook. User “Brandon” responded to KimKyle, “I

             checked them out and I do think I see some VGT $1 machines in one of the pics on

             the right wall,” and posted a photograph showing the games that he apparently

             believed belonged to VGT. After KimKyle visited the casino, he or she posted: “I

             played the dollar reels hoping that they were red screen machines ( I couldn’t tell),

             but I never got more than a cherry.” KimKyle then replied to Brandon’s post and

             said, “Thanks Brandon, I think so to, but I forgot to look at the brand. I tried them just

             a bit but never even got a line hit. When I looked at the pays it only showed the bingo

             patterns, so I wasn’t sure.” Later that same day, a third user named “Warren”

             commented that “VGT wasn’t one of the manufacturers that I heard they have... I did

             hear they have some Castle Hill Gaming http://www.castlehillgaming.com/ Castle

             Hill Gaming was started by some ex VGT folks and the games look very similar. Not

             sure how similar they play, but I would guess pretty close.” At that point, KimKyle

             seems to have realized that the games he or she played belonged to CHG, not VGT,


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              and said, “Thanks @Warren . [sic] That’s the ones they have. I forgot to look at

              manufacturers but I will next time.”

          •   Another incident occurred in Spring 2017 at Choctaw Casino in Durant, Oklahoma.

              There, James Starr (Executive Vice President of Sales at VGT) and Mr. Marcum were

              standing in the high-limit section of the casino near the bar when Mr. Starr saw a

              bank of games that he thought were VGT’s. When Mr. Starr said something along

              the lines of “those games look pretty good. I didn’t know we had those,” Mr.

              Marcum corrected Mr. Starr and told him that those games belonged to CHG, not

              VGT.

          •   On July 30, 2017, Naskila Gaming, a new casino in Livingston, Texas, posted three

              photos of players who had recently won jackpots on CHG games to its Facebook

              page. See https://www.facebook.com/naskilagaming/posts/1795969217098588

              (VGT0001661 – VGT0001672). A Facebook user named Dana Ramsey-Keblish

              commented on the post, “Looks like I need to come play some VGT.” Another

              Facebook user named Steven Hieronymus corrected this mistake by replying, “Castle

              Hill - CHG.”

   INTERROGATORY NO. 13:

          Please state with specificity the amount and category of damages you are seeking in this

   action, and how such damages are calculated.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 13:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this request as premature to the extent that it calls for expert testimony or




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   analysis. Subject to and without waiving the preceding general and specific objections, VGT

   responds as follows:

          VGT intends to seek at least (a) actual damages suffered by VGT as a result of CHG’s

   trademark infringement, trade dress infringement, unfair competition, misappropriation of

   VGT’s trade secrets, and misappropriation of VGT’s confidential business information; (b)

   disgorgement of CHG’s profits derived from its trademark infringement, trade dress

   infringement, unfair competition, misappropriation of VGT’s trade secrets, and misappropriation

   of VGT’s confidential business information; and (c) increased damages or profits and/or punitive

   damages. Calculation of such damages will depend on factors including CHG’s revenue from

   the accused games, VGT’s revenue lost as a result of CHG’s infringement, and other harm

   caused by CHG’s unlawful actions. VGT also intends to seek an award of its reasonable

   attorney fees and costs of suit.

                                           DECLARATION

          A signed declaration verifying the facts set forth in the foregoing PLAINTIFF’S

   OBJECTIONS AND RESPONSES TO DEFENDANT CASTLE HILL STUDIO LLC’S FIRST

   SET OF INTERROGATORIES (NOS. 1-13) is forthcoming.




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                                       Respectfully submitted,


   November 22, 2017                   /s/ Michael S. Sawyer
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 22, 2017, I sent via email, a true and correct copy of

   the foregoing PLAINTIFF’S OBJECTIONS AND RESPONSES TO DEFENDANT CASTLE

   HILL STUDIO LLC’S FIRST SET OF INTERROGATORIES (NOS. 1-13) to counsel of record

   for Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks Development

   LLC:

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                                                                /s/ Michael S. Sawyer




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